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                                              #:43556



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                   8
                   9                                    UNITED STATES DISTRICT COURT
                  10                                CENTRAL DISTRICT OF CALIFORNIA
                  11                                          EASTERN DIVISION
                  12           CARTER BRYANT, an individual,             CASE NO. CV 04-9049 SGL (RNBx}

                  13                       Plaintiff,                    Consolidated with
                                                                         Case No. CV 04-09059
                  14                 vs.                                 Case No. CV 05-02727
                  15 MATTEL, INC., a Delaware                            DECLARATION OF BRUCE L.
                     corporation,                                        STEIN IN SUPPORT OF MATTEL,
                  16                                                     INC.'S CONSOLIDATED
                                  Defendant.                             OPPOSITION TO DEFENDANTS'
                  17                                                     MOTIONS FOR PARTIAL
                                                                         SUMMARY ADJUDICATION
                  18           AND CONSOLIDATED ACTIONS
                  19                                                     Date: April 22, 2008
                                                                         Time: 10:00 a.m.
                  20                                                     Place : Courtroom 1
                  21                                                     Phase 1
                                                                         Discovery Cut-Off:       Jan. 28, 2008
                  22 !,                                                  Pre-Trial Conference:    May 5, 2008
                                                                         Trial Date:              May 27, 2008
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o^zo9iz^azasi.i                                                                          Case No. CV 04-9049 SGL (RNBx)
                          II                                                          DECLARATION OF BRUCE L. STEIN
  Case 2:04-cv-09049-DOC-RNB Document 2767-25 Filed 03/24/08 Page 2 of 2 Page ID
                                   #:43557




                                  ^^^^^io^ a^ $^u^c^ ^. s^r^

                          I, duce ^ Steim, declare as foilaws:
        4                 1_     I make this deejaradian of my pe^soryal and fizsthauud ^owledge

             aad, if called and sworn as a v^ ^itness, I could and would testify competEntly hereto.

        b                 2.     I make this decla^atioyt yn support of plaiottff Ma#,el, tnc 's

        7 ("Mat^el"`^ Consaiid^ed apposition #,o Dcfeadan#s' 1Nlations far Pa^aj Summa^.y
        S ^idjudicat7on.
        9                 3_     ^ have been named as as expert on behalf of Matte] in this

       ^o lawsuit ^ have over 25 years experience in the tot industrg'.
       11                 ^_     Attached as Fxhi^it A ^s a tree amd cornett copry of the expert
       12 report Y pr^cpared inn this case, dated. February ^ 1, 2008 . ^ ca^ify that this report is
       13 'tn^e, acauate and cornett, and acctna^tely sets firth my opinions im this cue.
       I^
       1S                 l declare under pe^ait3r of perjwy under the laws of the United Stakes of
       16 Arner[ca Batt ^ foregoing is try aid corree#_
       1.7                E,^ecuted ova March ^ 2AQ8, ai
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       ^o                                            Bruce L. Stein
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^^.n                                                    - -                 C'.^e Ala. ClF U4-^Q49 SGL (RAaB:)
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